
SLEET, Judge.
James Woldseth appeals his amended sentences after the postconviction court granted his Florida Rule of Criminal Procedure 3.850 motion, vacating one of his convictions and resentencing him on his remaining offenses. We affirm Woldseth's amended sentences and restitution order of $823,233.88 to the victim. However, on appeal he argues that the trial court erroneously imposed costs and fees when it resentenced Woldseth on May 10, 2017. We agree. Because costs and fees were orally waived at the resentencing hearing, we reverse and remand for the trial court to strike the award of court costs and fees.
Affirmed in part, reversed in part, and remanded with instructions.
KELLY, and MORRIS, JJ., Concur.
